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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF KANSAS


      MATTHEW CHARLES SCHLOBOHM,

                     Plaintiff,                                        CASE NO. 23-3014-JWL

                     v.

      DONALD ASH, et. al.,

                     Defendants.



         MOTION TO COMPEL COMPLIANCE WITH COURT-ORDERED MARTINEZ
                                 REPORT
1

2           COMES NOW the Plaintiff, Matthew Charles Schlobohm, Pro Se, and respectfully

3    moves this Honorable Court to compel the Interested Party to comply with the court-ordered

4    Martinez Report (Doc. 49, dated September 20, 2023), and for such other and further relief as

5    indicated below and as the Court deems just and proper. In support of this Motion, Plaintiff states

6    as follows:

7                                            BACKGROUND

8           On September 20, 2023, this Court ordered the production of a Martinez Report,

9    specifically mandating that "any recordings related to Plaintiff's claims shall also be included."

10   (Doc. 49, at 3). Despite this clear directive, the Defendants have failed to comply with the Order,

11   particularly concerning the production of the specified recordings which are known to exist and

12   are of paramount importance for establishing the lack of frivolity or maliciousness of Plaintiff’s

13   Amended Complaint.


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14           The Plaintiff previously sought production of the known recordings as well as

15   clarification of the Interested Party’s obligations through its “MOTION TO COMPEL” (Doc. 61)

16   and “MOTION FOR CLARIFICATION” (Doc. 64) regarding the production of "any

17   recordings," to which the Court responded by affirming that its previous order was sufficiently

18   clear and required no further clarification.

19           The recordings in question are of paramount importance for the Court to adequately

20   screen Plaintiff's Amended Complaint. The Defendants' non-production of these recordings is

21   perceived as a deliberate act of non-compliance with the Court's order, aimed at prejudicing

22   Plaintiff's claims. The Interested Party’s non-compliance also serves to underscore the merits of

23   the Amended Complaint as far as it shows a cavalier disregard for the inherent authority of this

24   Court and all parties’ obligations to comply with court orders.

25                                                 ARGUMENT

26           The public's right of access to judicial records is a well-established principle, underscored

27   by the presumption in favor of public access. This principle supports Plaintiff’s position that the

28   Defendants' failure to produce the ordered recordings undermines not only the Plaintiff's rights

29   but also the public's interest in the transparency and integrity of the judicial process.

30           The Defendants' "MOTION FOR LEAVE TO FILE EXHIBIT 3 TO THE MARTINEZ

31   REPORT SUPPLEMENT UNDER SEAL" (Dated April 1, 2024) was processed without giving

32   the Plaintiff adequate time to object or respond, and without sufficient rationale to overcome the

33   strong presumption of public access to judicial records 1. As noted to the Interested Party in a




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      United States v. Walker, No. 17-1415 (10th Cir., 2019); United States v. Pickard, Case No. 00-40104-01/02-
     RDR (D. Kan., 2012); United States v. Pickard, 733 F.3d 1297 (10th Cir. 2013).

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34   previous case, to overcome the "common-law right of access to judicial records" (Mickles v.

35   Bond, Not Reported in Fed. Supp. (2022) quoting Carefusion 213, LLC v. Pro. Disposables, Inc.,

36   No. 09-2616-KHV, 2010 WL 2653643, at *1 (D. Kan. June 29, 2010) (internal citations omitted),

37   "[t]he party seeking to overcome the strong presumption of public access must show the

38   'countervailing interests heavily outweigh' the public interest in access to court proceedings and

39   documents. To do so, '[t]he parties must articulate a real and substantial interest that justifies

40   depriving the public of access to the records that inform the Court's decision-making process."

41   (id., quoting Colony Ins. Co v. Burke, 698 F.3d 1222, 1242 (10th Cir. 2012). Then, as now,

42   “[w]ithout citing any authority, Defendants, in their motion, request an exhibit to the Martinez

43   Report…be filed under seal…[because it] is confidential, ‘and or private in nature.’” (id., at Page

44   1(1)(B).) Plaintiff respectfully objects to the approval of this Motion as clear error, prejudicial to

45   the administration of justice and my case, and contrary to established case law as noted above.

46          Plaintiff wishes to note for the record that the Interested Party sought “LEAVE…TO

47   FILE A RESPONSE TO ‘PLAINTIFF’S PRE-RESPONSE MOTION TO COMPEL’ [DOC. 61]”

48   and the Court denied that request. Nevertheless, consistent with wanton disregard of court orders

49   and doing so under seal, the Interested Party proceeded to do so anyway. Since their response

50   was made under seal, Plaintiff is unsure if he is allowed to reference it directly; however, this

51   serves, again, as a custom, policy, or practice of the Defendants/Interested Party of disregarding

52   direct court orders and proceeding as they please with impunity and in secret in order to

53   prejudice the administration of justice, accountability for their misconduct, and, in the instant

54   case, Plaintiff’s ability to have a fair hearing before this Court. Further, considering Plaintiff’s

55   experience with the Defendants/Interested Party, he takes their court-denied, sealed reply as a




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56   threat to his personal safety as well as feelings of intimidation, PTSD-related flashbacks to the

57   events giving rise to this cause of action and concerns about the impartiality of the process.

58                                           RELIEF SOUGHT

59          Plaintiff respectfully requests that this Court order the Defendants to comply with the

60   Court's order (Doc. 49) by producing all recordings related to Plaintiff's claims forthwith.

61          Plaintiff further requests that this Court deny the Defendants' motion to file Exhibit 3 to

62   the Martinez Report Supplement under seal, or in the alternative, to review the exhibit and

63   determine whether it, or any part of it, can be unsealed and narrowly redacted consistent with the

64   principles of public access to judicial records.

65          Plaintiff further requests that the Court consider sanctions, in a manner it sees fit, for the

66   continued non-compliance of court orders by the Interested Party/Defendants, pursuant to the

67   American Bar Association’s Model Rules of Professional Conduct, particularly Rule 8.4(d),

68   which prohibits conduct prejudicial to the administration of justice, fear for personal safety, or

69   concerns about the impartiality of the process.

70          Plaintiff requests any other relief this Court deems just and proper in the interests of

71   justice and transparency.

72


73                                                                               Respectfully submitted,

74                                                                      s/ Matthew Charles Schlobohm
75                                                                                         April 12, 2024
76                                                                                                Plaintiff
77                                                                              4210 Clark Ave., Apt 302

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78                                                                          Kansas City, MO 64111
79                                                                                    816-621-9149
80                                                                 matthew.schlobohm@gmail.com
81
82                                  CERTIFICATE OF SERVICE

83


84   I hereby certify that on this day of April 12, 2024, a true and correct copy of the foregoing

85   Motion for Clarification was filed electronically with the Clerk of the Court using the

86   CM/ECF system, which will send notification to all parties required to be served.

87                                                                 s/ Matthew Charles Schlobohm
88                                                                                   April 12, 2024
89                                                                                         Plaintiff
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